                         IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF ALASKA


FREDILITO TUMBAGA, EVAN
TUMBAGA, JADEN TUMBAGA,
and JUSTIN TUMBAGA BY
EVAN TUMBAGA, his parent,

                                Plaintiffs,         MEMORANDUM OF DECISION
                 v.

UNITED STATES OF AMERICA,

                               Defendant.           Case No. 3:06-cv-00247-SLG



                                      I.      INTRODUCTION


         This is a medical malpractice action brought against the United States pursuant

to the Federal Tort Claims Act.1 The Complaint was filed in October 2006,2 and relates

to medical care that was provided to plaintiff Fredilito Tumbaga at the Alaska Native

Medical Center (ANMC) in October and November of 2004.            Evan Tumbaga is Mr.

Tumbaga’s spouse, and Justin and Jayden Tumbaga are the Tumbagas’ children. The

Tumbagas seek to recover past medical expenses, future life care expenses, past and

future lost earnings, and past and future non-economic damages.3 Pursuant to the

Federal Tort Claims Act, the law of the forum state applies to this claim, including




1
    28 U.S.C. § 2671 et seq.
2
    Docket 1.
3
    Docket 209 at 26.




          Case 3:06-cv-00247-SLG Document 219 Filed 08/07/12 Page 1 of 24
Alaska Statute § 09.55.540, which sets out the elements for a medical malpractice

claim.4

          This matter was assigned to the undersigned judge in January 2012.                A

seven-day bench trial was held in early April 2012. The parties each filed proposed

Findings of Fact and Conclusions of Law on April 16, 2012.5

          Federal Rule of Civil Procedure 52(a) provides that “[i]n an action tried on the

facts without a jury . . . the court must find the facts specially and state its conclusion of

law separately.”        Having considered the testimony of the witnesses, the exhibits

admitted into evidence, and the parties’ submissions, this court now makes the following

Findings of Fact and Conclusions of Law as set forth below.6



                                    II.   FINDINGS OF FACT

The Evidence Presented at Trial.

1.        A total of nineteen witnesses testified at trial, including two witnesses by

videotaped deposition.7

2.        Each of the Tumbagas testified at trial. The plaintiffs also called the following

individuals as witnesses: Dr. John Kirkwood, a neuroradiologist who provided expert

4
    28 U.S.C. § 2674.
5
    Dockets 208, 209 and Notice of Errata at Docket 211.
6
  This Memorandum of Decision does not purport to recite all of the evidence submitted and
arguments made by the parties. See Fed R. Civ. P. 52(a) Advisory Committee Note (“the judge
need only make brief, definite, pertinent findings and conclusions upon the contested matters.
There is no necessity for over-elaboration of detail or particularization of facts.”)
7
    See Docket 205.


3:06-cv-00247-SLG, Tumbaga v. USA
Memorandum of Decision
Page 2 of 24

          Case 3:06-cv-00247-SLG Document 219 Filed 08/07/12 Page 2 of 24
testimony; Dr. James Zirul, an ear, nose and throat doctor in Kenai who has treated Mr.

Tumbaga; Dr. Jayashree Srinivasan, a neurosurgeon who provided expert testimony by

videotaped deposition; Dr. Kevin Rullman, an osteopath who has treated Mr. Tumbaga

in Kenai; Dr. Robert O’Connell, an optometrist who has treated Mr. Tumbaga in Kenai;

Jennifer Tyler, the operator of the assisted living home where Mr. Tumbaga resides; Jill

Freidman, a lifecare planner; and Dr. Laura Taylor, an economist.

3.      The   plaintiffs   also   submitted     deposition    testimony     from    Dr.   Joshua

Knappenberger, a neurologist who treated Mr. Tumbaga at the University of

Washington (UW) in November 2004; Dr. John Midthun, the Chief of Radiology at

ANMC in 2004; Dr. Brian Trimble, a staff neurologist at ANMC in 2004; Dr. Mark

Thorndike, a vascular surgeon at ANMC in 2004; and Dr. Frances Wilson, a general

surgeon at ANMC in 2004.

4.      The United States called the following witnesses:                 Dr. Erik Kohler, the

neurosurgeon who performed the neck surgery on Mr. Tumbaga at ANMC in October

2004;    Dr. Joe Eskridge, an interventional neuroradiologist who provided expert

testimony; Dr. Brian Trimble, a neurologist who treated Mr. Tumbaga at ANMC in 2004;

Dr. Wouter Schievink, a neurosurgeon who provided expert testimony by videotaped

deposition;8 Dr. Deborah Doherty, a doctor who specializes in physical medicine and

rehabilitation who provided expert testimony; and Dr. Robert Shavelle, a statistician

who provided expert testimony on life expectancy.



8
  The plaintiffs also submitted excerpts from an earlier deposition of Dr. Schievink in this matter
from September 2009.


3:06-cv-00247-SLG, Tumbaga v. USA
Memorandum of Decision
Page 3 of 24

        Case 3:06-cv-00247-SLG Document 219 Filed 08/07/12 Page 3 of 24
5.        The United States also submitted the deposition testimony of Dennis Hopper and

Harold Jopp, the two paramedics on the flight that transported Mr. Tumbaga from

ANMC to the UW Hospital on November 10, 2004.               In addition, the government

submitted the deposition testimony of Dr. Alvaro Testa, who was a resident physician at

ANMC in November 2004.

6.        An extensive amount of exhibits was admitted into evidence, most of which

consisted of Mr. Tumbaga’s medical records.9



The Car Accident and Mr. Tumbaga’s Medical Treatment at ANMC.

7.        Fredilito Tumbaga was severely injured in an auto accident on the Kenai

Peninsula at approximately 8:30 a.m. on October 30, 2004.10

8.        Mr. Tumbaga was taken by helicopter from the crash site to Alaska Regional

Hospital. He arrived there at 10:43 a.m.11 CT scans of his brain and cervical spine

were taken at that hospital. Mr. Tumbaga suffered a very severe spine injury in the car

crash – specifically, he suffered a fracture and a subluxation of the C4-5 vertebrae,

meaning that the middle part of his neck was broken, his spine was out of alignment,

and he had a spinal cord injury.12 These injuries were not caused or exacerbated by

any negligence on the part of the ANMC physicians.

9
    See Docket 206.
10
     Ex. 1 at 11.
11
     Ex. 1 at 5.
12
   Ex. 1 at 17, 18; Dep. of Schievink (Feb. 27, 2012) at 13; Docket 212 at 14 (Testimony of
Kirkwood); Docket 218 at 169 (Testimony of Trimble).


3:06-cv-00247-SLG, Tumbaga v. USA
Memorandum of Decision
Page 4 of 24

           Case 3:06-cv-00247-SLG Document 219 Filed 08/07/12 Page 4 of 24
9.        There are two vertebral arteries, each of which runs alongside the cervical

vertebrae through channels in the cervical vertebrae. The vertebral arteries supply

much of the blood to the posterior portion of the brain, including the brainstem, the

cerebellum, and back portions of the cerebral hemispheres in the region of the occipital

lobe.13

10.       When the cervical vertebrae are severely dislocated, the inner tissue of the

vertebral artery may tear, which is called a dissection. One of the risks of a vertebral

artery dissection is the formation of blood clots at the site of the tear, which can then

break up into emboli (small clots) and flow upward into the cerebellar arteries and cause

a brainstem stroke.14 The type and severity of Mr. Tumbaga’s spine injury has a high

association with vertebral artery injury.15 Ischemic (i.e., stroke) symptoms frequently

occur in patients who have vertebral artery dissections. Dr. Schievink testified that of

those vertebral artery dissections that he has diagnosed, about two-thirds of the

patients show ischemic symptoms.16

11.       Both the brain and cervical CT scans taken at Alaska Regional Hospital on

October 30, 2004 indicated increased density in the left vertebral artery, indicating a

likely vertebral artery dissection at that time.17 But that is not the type of injury that

13
     Docket 212 at 12 (Testimony of Kirkwood); Dep. of Knappenberger at 21.
14
     Dep. of Srinivasan at 17-18; Docket 212 at 24 (Testimony of Kirkwood).
15
  Docket 212 at 27 (Testimony of Kirkwood); Dep. of Schievink (Sept. 3, 2009) at 10; Dep. of
Knappenberger at 19; Dep. of Midthun at 15.
16
     Dep. of Schievink (Sept. 3, 2009) at 11.
17
     Docket 212 at 69 (Testimony of Kirkwood).


3:06-cv-00247-SLG, Tumbaga v. USA
Memorandum of Decision
Page 5 of 24

           Case 3:06-cv-00247-SLG Document 219 Filed 08/07/12 Page 5 of 24
would have been easily discerned at that time, particularly given the overall seriousness

of Mr. Tumbaga’s condition.18 There is no evidence of a stroke on any of the October

30, 2004 studies from Alaska Regional.19

12.       The weight of the evidence indicates that it is more likely than not that on

October 30, 2004 Mr. Tumbaga had a vertebral artery dissection to at least one, if not

both of these arteries as a result of the trauma of the motor vehicle crash.20

13.       At approximately 12:30 p.m. on October 30, 2004, Mr. Tumbaga was transferred

to ANMC, with copies of the Alaska Regional CT scans.21 Apparently the transfer was

based on the mistaken belief at Alaska Regional Hospital that Mr. Tumbaga was an

Alaskan Native. Mr. Tumbaga was born in the Philippines and raised in Hawaii before

moving to Alaska with his family several years before the car accident.

14.       Mr. Tumbaga was examined by Dr. Wilson upon his arrival at ANMC.22 She

wrote then that he had a spinal cord injury, would be sent to the operating room, and

noted “CT angio post op.”23 At her deposition, Dr. Wilson testified that she “assumed

[Mr. Tumbaga] had vertebral injury” because of “the anatomy of the vertebral arteries.”24

18
     Dep. of Srinivasan at 10.
19
     Docket 212 at 69 (Testimony of Kirkwood).
20
     Dep. of Schievink (Sept. 3, 2009) at 10; Dep. of Srinivasan at 15-16.
21
     Ex.1 at 33.
22
     Docket 218 at 210 (Testimony of Trimble).
23
  Ex. 1 at 42. The typed preoperative history and physical report that Dr. Wilson dictated on
October 30 indicated that “Postoperatively, the patient will need a CT angio to rule out blunt
carotid injury.” Ex. 1 at 57. See also Dep. of Wilson at 22.
24
     Dep. of Wilson at 24.

3:06-cv-00247-SLG, Tumbaga v. USA
Memorandum of Decision
Page 6 of 24

           Case 3:06-cv-00247-SLG Document 219 Filed 08/07/12 Page 6 of 24
She added, “when vertebrae are separated 100 percent, like his were, you just have to

assume that … the vertebral arteries are sheared off.”25

15.       Upon his arrival at ANMC, Mr. Tumbaga underwent extensive surgery to stabilize

his neck fracture and take pressure off his spinal cord.26 Dr. Kohler performed this

surgery and was not negligent in the performance of this surgery.

16.       A CT cervical scan of Mr. Tumbaga’s neck was taken at ANMC on October 31,

2004, the day after his surgery. Several images of the CT scan clearly show where a

screw from the surgery has penetrated into the left transverse foramen where the left

vertebral artery is located. The placement of the screw there during surgery was not

negligent.      However, the screw’s location could damage the left vertebral artery.27

There is also one image of the brain in the October 31, 2004 CT cervical scan study that

shows an abnormally increased density change, or edema, in the left cerebellum area of

the brain.28 This is more likely than not an indication that Mr. Tumbaga had suffered a

stroke, which this court finds most likely occurred during or immediately after the

surgery.29




25
     Dep. of Wilson at 24.
26
     Docket 218 at 170 (Testimony of Trimble).
27
     Docket 218 at 218 (Testimony of Trimble).
28
     Docket 218 at 222 (Testimony of Trimble).
29
     Docket 218 at 223 (Testimony of Trimble); Dep. of Trimble at 94; Dep. of Srinivasan at 51.


3:06-cv-00247-SLG, Tumbaga v. USA
Memorandum of Decision
Page 7 of 24

           Case 3:06-cv-00247-SLG Document 219 Filed 08/07/12 Page 7 of 24
17.       Based upon the weight of the evidence, this court finds that Mr. Tumbaga did not

suffer any additional stroke until the major stroke that was diagnosed by UW on or

about November 12, 2004.

18.       The radiology report for the October 31, 2004 CT scan of Mr. Tumbaga was

prepared by Dr. Midthun at ANMC. The report did not describe the misplaced screw

into the vertebral canal.30 And it did not comment upon the increased density changes

in the brain that were indicated on that CT scan showing the apparent developing

ischemic stroke in the left inferior cerebellum.

19.       The radiologist’s failure to identify and report the screw’s placement in the

foramen in the October 31, 2004 CT scan fell below the standard of care expected of a

radiologist.31 It did not demonstrate the degree of knowledge or skill possessed or the

degree of care ordinarily exercised under the circumstances in 2004 by health care

providers in the field of radiology.

20.       Dr. Kohler testified that he reviewed the October 31, 2004 CT scan himself. At

trial, he acknowledged that the threads of the screw were in the foramen.32 But he

testified that while he would have preferred the screw not to be that close to the

vertebral artery, he was not concerned with the screw’s location because he determined




30
     Ex. A at 140; Docket 212 at 55 (Testimony of Kirkwood).
31
  Docket 218 at 90-91 (Testimony of Eskridge). But as noted above, the screw’s placement did
not constitute malpractice by Dr. Kohler in the performance of the surgery.
32
     Docket 215 at 159-160 (Testimony of Kohler).

3:06-cv-00247-SLG, Tumbaga v. USA
Memorandum of Decision
Page 8 of 24

          Case 3:06-cv-00247-SLG Document 219 Filed 08/07/12 Page 8 of 24
that the threads of the screw were not into the vertebral artery itself and the tip of the

screw is not sharp.33 This court found that testimony to be not credible.34

21.       Given the location of the screw and the nature of Mr. Tumbaga’s neck injury,

careful evaluation of the visible portion of the brain on that CT scan would be

appropriate in light of the high association of a stroke with vertebral artery injury. But

this court was not persuaded that the failure to identify and report the abnormality in the

lower part of the brain that could be seen on the October 31, 2004 CT cervical scan fell

below the standard of care at that time. The edema was visible on only one image and

Dr. Trimble persuasively testified that a radiologist viewing that cervical post-operative

CT scan would be focused on the surgical site at the cervical spine, and particularly

seeking to make sure that the spinal cord was in proper alignment and that there was

no debris in the spinal canal.35

22.       The vertebral artery dissection(s) that Mr. Tumbaga experienced (most likely at

the time of the motor vehicle crash on October 30, 2004) was not diagnosed by any of

the doctors at ANMC at any time during the twelve days he was at that facility.

Consistent with Dr. Wilson’s note on Mr. Tumbaga’s chart at admission, a CT

angiogram was the appropriate standard of care that was ordinarily exercised for




33
     Docket 215 at 77-78, 156, 157 (Testimony of Kohler).
34
  Cf. Dep. of Trimble at 93 (after viewing the image showing the screw’s location, he testified
that “it could damage the vertebral artery on the left.”).
35
     Docket 218 at 187 (Testimony of Trimble).


3:06-cv-00247-SLG, Tumbaga v. USA
Memorandum of Decision
Page 9 of 24

          Case 3:06-cv-00247-SLG Document 219 Filed 08/07/12 Page 9 of 24
imaging a suspected vertebral artery dissection in 2004.36 But no CT angiogram was

performed of Mr. Tumbaga’s neck while he was at ANMC. This court finds it more likely

than not that a CT angiogram would have identified the injury to the left vertebral artery.

Although not established by a preponderance of the evidence, a CT angiogram at

ANMC may also have identified an injury to Mr. Tumbaga’s right vertebral artery which

may have been responsible for the subsequent very large stroke that Mr. Tumbaga had

at UW.37       The failure of ANMC health care providers to perform the CT angiogram on

Mr. Tumbaga after the neck trauma and surgery, and particularly in light of the

misplaced screw from the surgery, fell below the then applicable standard of care.

23.       This court heard some evidence that the quality of the CT angio scans at ANMC

in late 2004 was not as good as at present.38 But as Dr. Midthun, the head of radiology

at ANMC persuasively testified in his deposition, “assessing the integrity of the vessels

in the neck [in 2004] was becoming more and more commonly done and wide spread.”39

He added, “[ANMC] had at that time a CT scanner capable of doing the CT

angiogram.”40


36
  Docket 218 at 201, 207-208 (Testimony of Trimble); Dep. of Schievink (Sept. 3, 2009) at 20-
21. Other appropriate alternative imaging would be a conventional angiogram or MRI
angiogram. Id. See also Docket 218 at 87 (Testimony of Eskridge).
37
     Dep. of Srinivasan at 20.
38
  See Docket 215 at 179 (Testimony of Kohler). Cf. Docket 218 at 208 (Testimony of Trimble);
Dep. of Midthun at 11; Dep. of Thorndike at 15; Dep. of Wilson at 27.
39
     Dep. of Midthun at 14.
40
     Dep. of Midthun at 11.




3:06-cv-00247-SLG, Tumbaga v. USA
Memorandum of Decision
Page 10 of 24

          Case 3:06-cv-00247-SLG Document 219 Filed 08/07/12 Page 10 of 24
24.       Directly after the October 30, 2004 surgery, Mr. Tumbaga exhibited some, but

not all, of the symptoms of a stroke. On October 31, 2004, he had dysphagia, meaning

considerable trouble swallowing, and he was hoarse, which are both symptoms

consistent with a stroke.41 Mr. Tumbaga continues to have dysphagia and uses a tube

to his stomach for nutrition. This dysphagia was not caused by any negligence on the

part of the ANMC physicians.

25.       On November 1, 2004, Mr. Tumbaga was noted to have a high-pitched voice,

which is another stroke symptom.42 Mr. Tumbaga did not exhibit other symptoms

consistent with a stroke on November 1, 2004, such as jerking eye movements, vertigo,

or uncoordinated movements.43 Dr. Trimble testified that on November 1, 2004, Mr.

Tumbaga was alert, pleasant, cooperative, and able to provide a complete history to

him.44 Mr. Tumbaga also demonstrated symptoms of spinal cord injury at that time,

including a severe burning sensation in his left arm and diminished strength in his right

arm.45

26.       A progress note dated November 2, 2004 indicates that Mr. Tumbaga was

“progressing neurologically.”46         However, there is also some evidence that Mr.

Tumbaga’s neurological condition deteriorated during the course of his stay at ANMC.
41
     Docket 218 at 195 (Testimony of Trimble); Dep. of Srinivasan at 15.
42
     Ex. A at 72.
43
     Docket 218 at 194-196 (Testimony of Trimble).
44
     Docket 218 at 169-173 (Testimony of Trimble); Ex. A at 65-66.
45
     Docket 218 at 175 (Testimony of Trimble).
46
     Ex. A at 77.


3:06-cv-00247-SLG, Tumbaga v. USA
Memorandum of Decision
Page 11 of 24

          Case 3:06-cv-00247-SLG Document 219 Filed 08/07/12 Page 11 of 24
On November 2, 2004, Mr. Tumbaga reported some dizziness, which is a symptom

consistent with a stroke.47 A progress note by speech pathologist Jill Lawrence dated

November 2, 2004 notes that Mr. Tumbaga exhibited a “dominance of eyes shut,” “flat

affect,” and “zero engaging in humor initiated by wife.”48 That note also indicates that

Ms. Lawrence discussed these observations with Ms. Tumbaga.49             Ms. Tumbaga’s

testimony at trial about her communications with Ms. Lawrence regarding her concerns

was similar.

27.       On November 4, 2004, Mr. Tumbaga developed intractable hiccups, which is

another stroke symptom.50 And a progress note from November 5, 2004 indicates that

Mr. Tumbaga was “still unsteady on feet,”51 which is also consistent with a stroke. The

medical records also note that he had “impaired speech” on that date.52

28.       But while Mr. Tumbaga had some symptoms consistent with a stroke, he also

had a constellation of other symptoms related to his spinal cord injury and neck surgery.

And ANMC health care providers attributed the hiccups and other stroke-like symptoms

to a vagal nerve injury and tried to manage them.




47
     Ex. 1 at 80.
48
     Ex A at 83.
49
     Ex A at 83. See also Ex. 1 at 89.
50
     Docket 218 at 183 (Testimony of Trimble); Ex. A at 90.
51
   Ex. 1 at 94. See also Ex. A-2 at 360, UW Medicine note; Dep. of Knappenberger at 18
(“people feel very dizzy and unsteady when they have had a stroke to the brainstem.”).
52
     Ex. A at 234.


3:06-cv-00247-SLG, Tumbaga v. USA
Memorandum of Decision
Page 12 of 24

          Case 3:06-cv-00247-SLG Document 219 Filed 08/07/12 Page 12 of 24
29.       A cervical spine MRI study was performed on Mr. Tumbaga on November 8,

2004.53 An MRI can be an informative tool to help determine whether an individual is

developing a stroke, but it is not a replacement for an angiogram in assessing blood

flow in the vertebral arteries.54       The report prepared by Dr. Austin, the radiologist,

regarding this MRI study stated in relevant part as follows:

                 On one image (#7) there is a focal area of increased signal seen in
                 the brainstem on the left. This could be artifactual as well or
                 possibly partial volume effects . . . If the patient is going to be
                 followed up with an MR at a later date, this area could be re-
                 examined, otherwise some additional axial and sagittal sequences
                 through this area could be obtained.55

There is no evidence in the record that any such additional sequences were obtained of

the brainstem area at ANMC.

30.       At trial, Dr. Kohler testified that he reviewed the MRI scan himself and interpreted

this film as showing a contusion, or bruise, in Mr. Tumbaga’s brain, and not a stroke. 56

Dr. Kohler testified that he believed that Mr. Tumbaga did not have a brainstem stroke

while at ANMC.57 This court found this assertion not credible, when considered with all

the other medical testimony that was presented by both the plaintiff and the defendant

at trial. Rather, this court was fully persuaded that Mr. Tumbaga suffered a brainstem

stroke either during or shortly after his October 30, 2004 surgery at ANMC.              This

53
     Ex. 1 at 141.
54
     Docket 218 at 231 (Testimony of Trimble); Dep. of Knappenberger at 23.
55
     Ex. A at 147. Cf. Docket 218 at 83 (Testimony of Eskridge).
56
     Docket 215 at 123, 170 (Testimony of Kohler).
57
     Docket 215 at 188 (Testimony of Kohler).


3:06-cv-00247-SLG, Tumbaga v. USA
Memorandum of Decision
Page 13 of 24

          Case 3:06-cv-00247-SLG Document 219 Filed 08/07/12 Page 13 of 24
brainstem stroke was not diagnosed by any of the doctors at ANMC at any time during

his stay at that facility.

31.       Dr. Kirkwood testified persuasively that multiple images of the November 8,

2004 MRI study showed a stroke in both the posterior portions of the cerebellum and

the brainstem, and also showed evidence of occlusion (blockage) of the left posterior

inferior cerebellar artery.58       Specifically, the November 8 MRI showed hemorrhagic

infarction in the left cerebellum of Mr. Tumbaga’s brain, meaning that there were signs

of bleeding in Mr. Tumbaga’s brain on that date.59 The radiologist failed to note this

condition of the cerebellum in his report, and this court finds that his failure to do so fell

below the applicable standard of care for interpreting this study.

32.      With    regard      to   the   radiologist’s   report   regarding   the   brainstem,   Dr.

Knappenberger persuasively testified at his deposition, “If I got a report that said the

flow-void doesn’t look good after an automobile accident and a neck injury, I would have

done a non-invasive angiogram at that point.”60 As it was, no CT angiogram or other

studies were ordered at ANMC that would have permitted the accurate diagnosis of Mr.

Tumbaga’s brainstem stroke.

33.      This court found persuasive a progress note from November 2004 in the UW

records by Dr. Knappenberger, a neurologist. At that point, he had been provided only



58
  Docket 212 at 39-47 (Testimony of Kirkwood). See also Docket 218 at 66 (Testimony of
Eskridge).
59
     Docket 212 at 73 (Testimony of Kirkwood).
60
     Dep. of Knappenberger at 27.


3:06-cv-00247-SLG, Tumbaga v. USA
Memorandum of Decision
Page 14 of 24

          Case 3:06-cv-00247-SLG Document 219 Filed 08/07/12 Page 14 of 24
limited records and films from ANMC.61 His review of those records noted that Mr.

Tumbaga had hiccups onset on November 4, 2004, dizziness, and the November 8,

2004 MRI showing increased brainstem activity. Those symptoms led the doctor to

question a “lateral medullary syndrome, which is a brainstem stroke syndrome.”62 He

concluded the symptoms “make posterior circulation damage & ischemia of great

concern.”63 He added, “as I was putting the whole history together, my concern was

that he might have suffered some injury to the brainstem.”64

34.      ANMC staff performed a Doppler study of Mr. Tumbaga on or about November 9,

2004. That study is not appropriate for assessing either the left vertebral artery problem

or the left cerebellar inferior artery, nor was it an appropriate study for those purposes in

2004.65

35.      Thus, based on the foregoing, this court finds that there was a negligent failure to

diagnose Mr. Tumbaga’s left vertebral artery dissection. Whether there was a negligent

failure to diagnose Mr. Tumbaga’s brainstem stroke is a closer question. But upon

consideration of all the evidence, this court finds that the failure of ANMC health care

providers to diagnose the brainstem stroke, at least by November 8, 2004, when the


61
     Dep. of Knappenberger at 8-9.
62
  Dep. of Kanppenberger at 17. See also Dep. of Srinivasan at 17 (“his symptoms are very
consistent with something called a lateral medullary syndrome which is a stroke that … involves
the vertebral artery.”)
63
     Ex. A at 358, 360; Dep. of Knappenberger at 17.
64
     Dep. of Knappenberger at 18.
65
  Docket 218 at 71 (Testimony of Eskridge); Dep. of Schievink (Sept. 3, 2009) at 23. Ex. A at
1497; Dep. of Knappenberger at 27-28.


3:06-cv-00247-SLG, Tumbaga v. USA
Memorandum of Decision
Page 15 of 24

          Case 3:06-cv-00247-SLG Document 219 Filed 08/07/12 Page 15 of 24
MRI study was conducted, fell below the applicable standard of care. Because the

vertebral artery dissection(s) and brainstem stroke were not diagnosed at ANMC, Mr.

Tumbaga was not treated for them at that facility. At issue is whether the failure to treat

these conditions was a significant factor in causing the second stroke that Mr. Tumbaga

suffered at some point soon after November 8, 2004.

36.       The parties presented considerable and conflicting evidence as to whether and

when Heparin should have been administered to Mr. Tumbaga after his neck surgery.

They generally agreed that the decision whether to administer Heparin would be made

by the surgeon who had performed the surgery – in this case, Dr. Kohler.66

37.       Dr. Kohler testified that he planned to wait until two weeks post surgery before

starting Mr. Tumbaga on Heparin. However, that decision was based on his erroneous

belief that Mr. Tumbaga had not had a vertebral artery dissection or a brainstem stroke.

Dr. Kohler testified that he would be administering Heparin beginning at two weeks “to

protect [Mr. Tumbaga’s] legs from deep venous thrombosis.”67 Because this testimony

was based on the inaccurate assumptions that Mr. Tumbaga had no vertebral artery

dissection or stroke, this court accords it no weight.

38.       Heparin is contraindicated for a patient immediately after a recent major surgery

or trauma.68 It is a blood thinner, such that its administration may cause excessive

bleeding or an inability for blood to clot.69


66
     Docket 218 at 199 (Testimony of Trimble).
67
     Docket 215 at 122(Testimony of Kohler).
68
     Dep. of Schievink (Sept. 3, 2009) at 26; Dep. of Srinivasan at 20.


3:06-cv-00247-SLG, Tumbaga v. USA
Memorandum of Decision
Page 16 of 24

          Case 3:06-cv-00247-SLG Document 219 Filed 08/07/12 Page 16 of 24
39.       Dr. Eskridge testified persuasively with respect to the risks associated with the

administration of intravenous Heparin more than several hours after a stroke, explaining

that “you do more harm than you do good by turning it into a hemorrhagic stroke.” 70

Here, Mr. Tumbaga more likely than not suffered his first stroke during or shortly after

his October 30, 2004 surgery. The doctors all agreed that even if Mr. Tumbaga’s

brainstem stroke had been diagnosed at that time, it would not have been an option to

administer Heparin to him that soon after surgery.71

40.       Dr. Knappenberger testified by deposition that “some physicians wait only 48

hours, and other physicians wait two weeks before they feel comfortable giving

intravenous Heparin after major surgery.”72

41.       Dr. Srinivasan testified that the standard of care is that the administration of

anticoagulation therapy (i.e., Heparin) for spinal injury should begin within five days of

the surgery, and that the failure to administer Heparin to Mr. Tumbaga within that

specific time frame constituted a breach of the standard of care.73 This court was not

persuaded by this testimony. Dr. Srinivasan herself recognized that “the data in the

literature is controversial” on this topic.74



69
     Dep. of Srinivasan at 55.
70
     Docket 218 at 24 (Testimony of Eskridge).
71
     Docket 218 at 27 (Testimony of Eskridge).
72
     Dep. of Knappenberger at 48.
73
     Dep. of Srinivasan at 22.
74
     Dep. of Srinivasan at 22.


3:06-cv-00247-SLG, Tumbaga v. USA
Memorandum of Decision
Page 17 of 24

          Case 3:06-cv-00247-SLG Document 219 Filed 08/07/12 Page 17 of 24
42.       An article regarding the management of vertebral artery injuries after

nonpenetrating cervical trauma that the government introduced into evidence indicates

that “anticoagulation with intravenous heparin is recommended for patients with

vertebral artery injury who have evidence of posterior circulation stroke.”75 Here, Mr.

Tumbaga had evidence of such a stroke, although it was not diagnosed at ANMC. As

such, Heparin therapy was recommended for him by the author of that article. And yet,

that same article also recognizes that “there is insufficient evidence to support treatment

standards” or “treatment guidelines” with respect to the administration of Heparin.

43.       Dr. Eskridge testified for the government. As noted above, he is an interventional

radiologist. One major focus of that subspecialty is the prevention of stokes.76 As a

result, he testified that he uses Heparin in his practice “almost every day.”77 He testified

that after a stroke, Heparin is beneficial to administer only in the first few hours, but it

cannot be administered intravenously at all to a person who has just had major surgery,

and should not have been given to Mr. Tumbaga “in the week after his … spinal trauma

and surgery.”78      And he added that even if the ANMC doctors had diagnosed the

cerebellar edema in Mr. Tumbaga in reading the November 8, 2004 MRI, he would not




75
     Ex. E at 1.
76
     Docket 218 at 13 (Testimony of Eskridge).
77
     Docket 218 at 16 (Testimony of Eskridge).
78
     Docket 218 at 19-20, 95 (Testimony of Eskridge).


3:06-cv-00247-SLG, Tumbaga v. USA
Memorandum of Decision
Page 18 of 24

          Case 3:06-cv-00247-SLG Document 219 Filed 08/07/12 Page 18 of 24
have given Heparin to Mr. Tumbaga in that situation.79 This court found Dr. Eskridge’s

testimony on this topic persuasive.

44.       Based on all the evidence presented, this court finds that determining whether

and when to administer Heparin after neck surgery is a judgment call to be made by the

treating physician on a case-by-case basis, such that there is, and in 2004 there was,

no applicable standard of care that requires its administration within a set number of

days after surgery for purposes of this medical malpractice action.

45.       Based upon consideration of all the evidence, this court was not persuaded that if

Mr. Tumbaga had been treated with Heparin beginning five days after his surgery, he

would not have had the second stroke, or the second stroke would have been less

severe. In this regard, the court was persuaded by the testimony of Dr. Eskridge, as

well as the November 8, 2004 MRI that demonstrated hemorrhagic activity in Mr.

Tumbaga’s brain.

46.       In the days immediately after the car accident and surgery, before Heparin could

be safely administered, antiplatelet therapy including aspirin could have been

administered to Mr. Tumbaga.80 Aspirin was not provided to Mr. Tumbaga at that time,

presumably because of the failure to diagnose the vertebral artery dissection. But no

persuasive evidence was presented that the failure to prescribe aspirin at that time was

more likely than not a substantial factor in causing the second stroke or would likely

have minimized its seriousness.


79
     Docket 218 at 53 (Testimony of Eskridge).
80
     Dep. of Schievink (Sept. 3, 2009) at 28-30.


3:06-cv-00247-SLG, Tumbaga v. USA
Memorandum of Decision
Page 19 of 24

          Case 3:06-cv-00247-SLG Document 219 Filed 08/07/12 Page 19 of 24
47.        Mr. Tumbaga’s condition worsened the last few days he was at ANMC. He had

respiratory problems and was prescribed morphine during that time.

48.       Mr. Tumbaga underwent surgery on November 9, 2004 to have the feeding tube

placed into his stomach. The evidence did not establish that this PEG surgery more

likely than not was a substantial factor in causing or exacerbating the second stroke.

49.       Mr. Tumbaga was transported to UW on November 10, 2004. Although the plan

when he left Anchorage was to take him to a rehabilitation center at that hospital, he

had decreasing mental status and respiratory distress during his first day of admission

and was transferred to the UW Intensive Care Unit that same day for further care. 81

The evidence did not establish that the transport of Mr. Tumbaga at that time was more

likely than not a substantial factor in causing the second stroke or would likely have

prevented or minimized its seriousness.         As Dr. Srinivasan testified, it is unknown

whether Mr. Tumbaga would have been transported earlier, later, or at the same time if

his brainstem stroke had been timely diagnosed.82

50.       An MRI of Mr. Tumbaga taken on November 12, 2012 at UW showed the

presence of an acute massive new stroke that spread across Mr. Tumbaga’s entire

brain that was not present on November 8, 2012.83 The stroke originated on the right




81
     Ex. A at 341, 343.
82
     Dep. of Srinivasan at 35.
83
     Docket 212 at 48 –50 (Testimony of Kirkwood); Dep. of Knappenberger at 33.


3:06-cv-00247-SLG, Tumbaga v. USA
Memorandum of Decision
Page 20 of 24

          Case 3:06-cv-00247-SLG Document 219 Filed 08/07/12 Page 20 of 24
side of Mr. Tumbaga’s brain and severely compressed his brain creating a life-

threatening situation.84

51.       The second stroke most likely occurred some time after November 8, 2004, the

date of the MRI at ANMC.85

52.       Surgery was done at UW on November 13, 2004, first to remove pressure in Mr.

Tumbaga’s brain, and then to remove damaged brain tissue.86

53.       If Mr. Tumbaga had not suffered the second stroke, he could have been a

significantly more functional person.87      Mr. Tumbaga’s spinal cord injury, together with

the two strokes, has had a substantial impact both on Mr. Tumbaga’s quality of life and

on the lives of each of his family members.

54.       Upon careful consideration of all the evidence, this court was not persuaded by a

preponderance of the evidence that the failure of ANMC health care providers to

diagnose the vertebral artery dissection(s) and the brainstem stroke were substantial

factors in causing or exacerbating Mr. Tumbaga’s second stroke. Given Mr. Tumbaga’s

fragile medical condition after his severe neck injury and subsequent surgery, the

evidence at trial demonstrated that there was no applicable standard of care that would

have required specified treatment had the correct diagnoses been made.




84
     Dep. of Knappenberger at 51; Dep. of Srinivasan at 23.
85
     Dep. of Srinivasan at 27.
86
     Dep. of Srinivasan at 52.
87
     Dep. of Wilson at 44.


3:06-cv-00247-SLG, Tumbaga v. USA
Memorandum of Decision
Page 21 of 24

          Case 3:06-cv-00247-SLG Document 219 Filed 08/07/12 Page 21 of 24
                                  III.   CONCLUSIONS OF LAW

1.        The Federal Tort Claims Act provides that the law of the forum state applies to

this claim.88 Alaska Statute § 09.55.540 sets out the elements for a medical malpractice

claim:

                 (a) In a malpractice action based on the negligence or willful
                 misconduct of a health care provider, the plaintiff has the burden of
                 proving by a preponderance of the evidence

                         (1) the degree of knowledge or skill possessed or the degree
                         of care ordinarily exercised under the circumstances, at the
                         time of the act complained of, by health care providers in the
                         field or specialty in which the defendant is practicing;

                         (2) that the defendant either lacked this degree of knowledge
                         or skill or failed to exercise this degree of care; and

                         (3) that as a proximate result of this lack of knowledge or
                         skill or the failure to exercise this degree of care the plaintiff
                         suffered injuries that would not otherwise have been
                         incurred.

                 (b) In malpractice actions there is no presumption of negligence on
                 the part of the defendant.

2.        Under Alaska law, in order to find that a plaintiff is entitled to recover, the court

must find that it is more likely true than not true that:

          (a)    The defendant was negligent;

          (b)    The plaintiff was harmed; and

          (c)    The defendant’s negligence was a substantial factor in causing the

plaintiff’s harm.89


88
     28 U.S.C. § 2674.
89
     Alaska Pattern Jury Instruction 3.01.


3:06-cv-00247-SLG, Tumbaga v. USA
Memorandum of Decision
Page 22 of 24

          Case 3:06-cv-00247-SLG Document 219 Filed 08/07/12 Page 22 of 24
3.        Negligence is a substantial factor in causing harm if:

          (a)    The harm would not have occurred without the negligence; and

          (b)    The negligence was important enough in causing the harm that a

reasonable person would hold the negligent person responsible.90

4.        Subsection (a) of paragraph (3) above does not apply if two events operated to

cause the harm, one because of the defendant’s negligence and the other not, and

each event by itself was sufficient to cause the harm. 91

5.        Based on the Findings of Fact set forth above, the plaintiffs have established by

a preponderance of the evidence that the ANMC physicians failed to exercise the

degree of care ordinarily exercised under the circumstances when they failed to

diagnose Mr. Tumbaga’s vertebral artery dissection() and brainstem stroke.

6.        Based on the Findings of Fact set forth above, the plaintiffs have not established

by a preponderance of the evidence that the standard of care for the treatment of a

vertebral artery dissection and stroke after neck surgery necessitates the use of anti-

coagulant therapy such as Heparin within a specified number of days post-surgery.

7.        The plaintiffs have not established by a preponderance of the evidence that had

Mr. Tumbaga been treated with anticoagulant therapy such as Heparin beginning five

days of his surgery, he would, on a more likely than not basis, not have had the second

stroke, or the second stroke would have been less severe.




90
     Alaska Pattern Jury Instruction 3.07.
91
     Alaska Pattern Jury Instruction 3.07.


3:06-cv-00247-SLG, Tumbaga v. USA
Memorandum of Decision
Page 23 of 24

          Case 3:06-cv-00247-SLG Document 219 Filed 08/07/12 Page 23 of 24
8.      Based on the findings of fact described above, the plaintiffs have not established

by a preponderance of the evidence that the negligent failure of the physicians at ANMC

to exercise the requisite degree of care in the diagnosis of Mr. Tumbaga’s conditions
                                                                                            92
was a substantial factor in causing the second stroke or in exacerbating its severity.

9.      The Alaska Supreme Court has not determined whether the loss of chance

doctrine applies under Alaska’s current medical malpractice statute. In a recent Order

dated January 27, 2012, the Alaska Supreme Court dismissed a petition for review on

this topic, and indicated that “the Court is evenly divided on the question whether the

loss-of-chance doctrine is consistent with Alaska law.”93 But as the plaintiffs have not

proven that a decision not to administer Heparin to Mr. Tumbaga would have been

negligent had the vertebral artery dissection(s) and brainstem stroke been timely

diagnosed, the doctrine would be inapplicable in this particular case even if recognized

in Alaska.

                                     IV.   CONCLUSION

     For the foregoing reasons, this court finds and concludes that judgment shall be

entered for the defendant.

        Dated this 7th day of August, 2012.

                                            /s/ Sharon L. Gleason
                                            UNITED STATES DISTRICT JUDGE


92
  See Vincent v. Fairbanks Memorial Hospital, 862 P.2d 847 (Alaska 1993) (affirming jury
verdict in which jury found that patient had received negligent medical care, but also found that
such care was not the legal cause of the patient’s permanent brain injury).
93
  Dobbins v. Providence Alaska Medical Center, No. S-13334, slip op. at 1 (Alaska Jan. 27,
2012) (Order Dismissing Petition).


3:06-cv-00247-SLG, Tumbaga v. USA
Memorandum of Decision
Page 24 of 24

        Case 3:06-cv-00247-SLG Document 219 Filed 08/07/12 Page 24 of 24
